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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                          Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




                                 PLAINTIFFS’ MOTION TO COMPEL

            Pursuant to Fed. R. Civ. P. 37 and E.D. Va. Local Rule 37, Plaintiffs hereby move to

     compel Defendants Cox Communications, Inc. and CoxCom, LLC (collectively “Cox”) to

     produce: (1) for the period of 2011 to the present, documents sufficient to identify, on a subscriber-

     by-subscriber basis, by quarter and year, revenue attributable to the specific Cox subscribers who

     were the subject of Plaintiffs’ copyright infringement notices; (2) for the period 2010 through

     2014, emails and communications concerning Cox’s responses to, handling of, and attitude

     towards infringement notices; and (3) for the period of 2011 through 2014, records regarding third-

     party copyright infringement notices involving the same Cox subscribers who were the subject of

     Plaintiffs’ copyright infringement notices.      For the reasons set forth in the accompanying

     Memorandum in Support, the Court should grant the motion.

                       LOCAL RULE 37(E) MEET AND CONFER STATEMENT

            Counsel for Plaintiffs sent letters or emails to Cox regarding its deficient objections and

     responses on December 10 and 26, 2018 and January 11, 28 and 29, 2019. The parties’ respective

     counsel have held multiple telephonic meet-and-confers, including on December 12 and 14, 2018,

     January 7 and February 1, 2019, including on the issues raised by Plaintiffs’ Motion. Those
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  telephonic discussions have lasted many hours. The parties have resolved several issues and others

  remain under consideration. Despite their efforts, the parties were unable to resolve all of their

  disputes, including those raised by the instant motion, though Plaintiffs will continue to confer in

  good faith to determine whether any of the issues raised herein may be mooted.




                                                       Respectfully submitted,

Dated: February 1, 2019                                /s/ Scott A. Zebrak

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